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  8                             UNITED STATES DISTRICT COURT
  9                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
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 11    ELIE SAKAYAN, an individual,                Case No. 2:22-cv-06618-MWF(SKx)
 12                Plaintiff,                      ORDER GRANTING STIPULATED
                                                   REQUEST TO EXTEND
 13          v.                                    SCHEDULING DEADLINES
 14    HARRY ZABILOV, an individual,
       ENZOLYTICS, INC., a Delaware
 15    corporation; IMMUNOTECH
       LABORATORIES, INC., a Nevada
 16    Corporation, and DOES 1 – 50,
 17                Defendants.
 18

 19         The Court, having considered the Parties’ Stipulated Request to Extend
 20   Scheduling Deadlines, hereby ORDERS only the following deadlines to be extended:
 21

 22
                      Matter                 Current Deadline        New Deadline
         Non-expert Discovery Cut-off              02/02/2024          02/23/2024
 23
         Expert Disclosure (Initial)               12/29/2023          01/12/2024
 24
         Expert Disclosure (Rebuttal)]             01/26/2024          02/16/2024
 25
         Expert Discovery Cut-off                  03/01/2024          03/08/2024
 26

 27
         Last Day to Hear Motions                  03/04/2024          04/05/2024

 28
         Last Day to Conduct ADR                   03/22/2024          04/15/2024


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  1         All other scheduling deadlines shall remain the same, i.e., as set forth in the
  2   Court’s Order re Jury Trial, dated March 3, 2023. (Docket No. 28).
  3         IT IS SO ORDERED.
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  5   Dated: December 26, 2023
                                             MICHAEL W. FITZGERALD
  6                                          United States District Judge
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